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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

CARLOS MANUEL AYESTAS,                 §
            Petitioner,                §
                                       §
v.                                     § Civil Action No. 4:09-CV-2999
                                       §
BOBBY LUMPKIN, Director,               §    (Death Penalty Case)
Texas Department of Criminal           §
Justice, Correctional Institutions     §
Division,                              §
                  Respondent.          §

RESPONDENT’S SUPPLEMENT TO ANSWER TO AYESTAS’S AMENDED
                      PETITION

      Petitioner Carlos Manuel Ayestas was properly convicted of and

sentenced to death for the brutal murder of sixty-seven-year-old Santiaga

Paneque in the course of committing a burglary or robbery. Ayestas filed an

amended petition raising two new claims predicated on the so-called Siegler

memo, which Ayestas purportedly discovered in the files of the Harris County

District Attorney’s Office in December 2014. First Am. Pet. for Writ of Habeas

Corpus (“Am. Pet.”), ECF No. 101. The Director filed his answer to Ayestas’s

amended petition in March 2022. Resp’t’s Answer & Mot. Summary J.

(“Answer”), ECF No. 115. Ayestas has not yet filed a reply to the Director’s

answer. But in the time since the Director filed his answer, the Supreme Court

decided Shinn v. Martinez Ramirez, -- S. Ct. --, 2022 WL 1611786 (May 23,
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2022). The Director thus files the instant supplemental briefing addressing the

relevance of Martinez Ramirez to Ayestas’s case.

                                 ARGUMENT

      In Martinez Ramirez, the Supreme Court held “that, under [28 U.S.C.]

§ 2254(e)(2), a federal habeas court may not conduct an evidentiary hearing or

otherwise consider evidence beyond the state-court record based on ineffective

assistance of state postconviction counsel.” Id. at *9. That is because “under

§ 2254(e)(2), a prisoner is ‘at fault’ even when state postconviction counsel is

negligent.” Id. at *10. Thus, “a federal court may order an evidentiary hearing

or otherwise expand the state-court record only if the prisoner can satisfy

§ 2254(e)(2)’s stringent requirements.” Id. (emphasis added).

      At first glance, Martinez Ramirez does not appear to directly apply to

Ayestas’s case: he has raised no ineffective-assistance-of-trial-counsel claim

predicated on the Siegler memo, and he has not alleged that state habeas

counsel’s ineffectiveness constitutes cause for the procedural default of his

Siegler-memo claims. Rather, Ayestas argues that he can show cause to excuse

the default of his claims because he could not have discovered the Siegler memo

sooner. See Am. Pet. 19–21.

      But, as the Director has thoroughly briefed in arguing that Ayestas was

not entitled to post judgment relief, has filed a successive petition, is untimely,

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and is procedurally defaulted, Ayestas was not diligent in discovering the

Siegler memo. See, e.g., Answer 10–41 Indeed, the Fifth Circuit has explicitly

found such—a finding this Court is bound by—and the Texas Court of Criminal

Appeals has implicitly found such—a finding to which this Court must defer.

See Answer 19–22. And because Ayestas was not diligent, the opening clause

of § 2254(e)(2) is triggered, just as it is when state habeas counsel fails to

develop a claim earlier. See Martinez Ramirez, 2022 WL 1611786, at *10

(recognizing that its prior precedent “admonish[es] that ‘[c]ounsel’s failure’ to

perform as a ‘diligent attorney’ ‘triggers the opening clause of § 2254(e)(2)’”)

(quoting Williams v. Taylor, 529 U.S. 420, 439–40 (2000)).

      What this means for Ayestas is that any new evidence he seeks to

introduce or develop in these proceedings cannot be considered by this Court,

and this applies equally to the Siegler memo itself as it does to whatever

evidence he will inevitably ask this Court for permission to discover in

accordance with the scheduling order. See Sched. Order 114 (requiring motions

for discovery under Rule 6 of the Rules Governing § 2254 Cases to be filed by

July 13, 2022), ECF No. 114. 1 Indeed, § 2254(e)(2)’s “restrictions apply a


1      The Director notes that he joined the step-processed joint scheduling order—
permitting the parties to file discovery motions after initial responsive pleadings but
before the Court has ruled on any of the underlying procedural issues—due to the
potential of a more unfavorable outcome. See ECF No. 108 (ordering parties to submit
a joint scheduling order “for remaining deadlines, including discovery limited to the
issues raised by the Siegler memo” or, if the parties could not agree, ordering Ayestas
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fortiori when a prisoner seeks relief based on new evidence without an

evidentiary hearing.” Holland v. Jackson, 542 U.S. 649, 653 (2004) (emphasis

in original). And Martinez Ramirez reinforced § 2254(e)(2)’s importance:

“[W]hen a federal habeas court convenes an evidentiary hearing for any

purpose, or otherwise admits or reviews new evidence for any purpose, it may

not consider that evidence on the merits of a negligent prisoner’s defaulted

claim unless the exceptions in § 2254(e)(2) are satisfied.” Martinez Ramirez,

2022 WL 1611786, *11. “In all but the[] extraordinary cases [where

§ 2254(e)(2)’s exceptions are met], AEDPA ‘bars evidentiary hearings in federal

habeas proceedings initiated by state prisoners.’” Id. at *3 (quoting McQuiggin

v. Perkins, 569 U.S. 383, 395 (2013)).

      Ayestas has not argued—and he cannot—that he meets § 2254(e)(2)’s

“stringent” exceptions: his claims do not rely on a “new rule of constitutional

law,” and he was not diligent in seeking to discover the claims, waiting as he

did until after this Court entered final judgment for the second time before

requesting to view the files of the Harris County District Attorney’s Office. See



to submit a revised version of the proposed order attached in ECF No. 100). The
Director has consistently objected to the propriety of the instant proceedings, but
Martinez Ramirez casts further doubt on the propriety of this Court ordering the
parties to move for discovery—on claims that are procedurally defaulted and thus for
which factual development is prohibited under § 2254(e)(2)—before resolving any of
the antecedent procedural issues in this case, namely, whether Ayestas’s claims are
successive, untimely, and procedurally defaulted.
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§ 2254(e)(2)(A)(i), (ii). Nor has he ever alleged “that further factfinding would

demonstrate, ‘by clear and convincing evidence,’ that ‘no reasonable factfinder’

would have convicted him of the crime charged.” Martinez Ramirez, 2022 WL

1611786, *8 (quoting § 2254(e)(2)(B)). As such, this Court cannot consider any

new evidence Ayestas proffers in these proceedings, including the Siegler

memo itself, and Ayestas’s claims must be denied.

                                CONCLUSION

      For the reasons described in the Director’s answer and the above

supplemental briefing, the Director respectfully requests that the Court deny

Ayestas’s petition and deny him a certificate of appealability.

                                     Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I do hereby certify that a true and correct copy of the foregoing pleading

was served by placing same in the United States Mail, postage prepaid, on this

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